
*715OPINION.
Tettssell :
The record of this action establishes that some time prior to June 30, 1919, the petitioner arranged with his wife and a business associate to join with him in the organization of a corporation for the purpose of taking over and operating petitioner’s automobile sales agency, and managing and caring for other real and personal property, then owned by the petitioner, and that it was his purpose to have such corporation organized and begin business on July 1, 1919. Petitioner then took steps to bring about results which he had in mind. The incorporation of the company was not completed, however, until August 18, 1919. We have been unable to find in this record anything which we can construe into either the declaration of a trust in favor of the petitioner and his associates or the effect of producing an association between them covering the *716period from July 1 to August 18 or 22 in respect to the ownership of the gains and profits produced by the business and property ultimately turned over to the corporation on August 22, 1918.
The other issues here involved are substantially identical with the case of Peter W. Bouss, 4 B. T. A. 516, and the opinion and decision of the Board in that case is equally controlling in the present case. Compare also Younker Bros. Inc., 8 B. T. A. 333.

Judgment will be entered for the respondent.

